                                 OPINION
{¶ 1} On January 18, 2007, appellant, Steven R. Lao, filed a pro se notice of appeal and motion for a delayed appeal, pursuant to App.R. 5(A), from his judgment of conviction and sentence issued by the trial court on August 8, 2006.
  {¶ 2} App.R. 5(A) provides, in relevant part:
  {¶ 3} "After the expiration of the thirty day period provided by App.R. 4(A) for the filing of a notice of appeal as of right, an appeal may be taken by a defendant with leave of the court to which the appeal is taken in the following classes of cases: *Page 2 
  {¶ 4} "(a) Criminal proceedings;
  {¶ 5} "(b) Delinquency proceedings; and
  {¶ 6} "(2) A motion for leave to appeal shall be filed with the court of appeals and shall set forth the reasons for the failure of theappellant to perfect an appeal as of right. Concurrently with the filing of the motion, the movant shall file with the clerk of the trial court a notice of appeal in the form prescribed by App.R. 3 and shall file a copy of the notice of the appeal in the court of appeals." (Emphasis added.)
  {¶ 7} In his motion, Appellant indicates that he has attached a memorandum in support of his motion; however, no such memorandum has been filed. The motion does not advance any reasons for a delay in perfecting his appeal. One of the primary requirements under App.R. 5(A) is that reasons be provided in the motion for delayed appeal for the failure to file a timely appeal.
  {¶ 8} Therefore, his motion is procedurally defective, and he has failed to invoke this Court's jurisdiction. Accordingly, it is ordered that appellant's motion for leave to file a delayed appeal is hereby overruled.
  {¶ 9} Appeal dismissed.
  DIANE V. GRENDELL, J. and CYNTHIA WESTCOTT RICE, J. concur. *Page 1 